UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE
                        NASHVILLE DIVISION

JOHN JOHNSON,                            )
                                         )
        Plaintiff,                       )     CASE NO. 3:12-0941
                                         )
v.                                       )     JUDGE CAMPBELL
                                         )
NATIONWIDE EXPRESS, INC.,                )     MAGISTRATE JUDGE KNOWLES
                                         )
        Defendant.                       )



                     NOTICE OF DISMISSAL WITHOUT PREJUDICE

        PLEASE TAKE NOTICE THAT pursuant to Rule 41(a) of the Federal Rules of Civil

Procedure, Plaintiff, JOHN JOHNSON, hereby voluntarily dismisses this matter without

prejudice, without costs and without fees, as to the Defendant, NATIONWIDE EXPRESS, INC.,

only.

DATED: January 15, 2013                        Respectfully submitted,

                                               FOY LAW GROUP, P.A.



                                               /s/ Robert J. Foy
                                               ROBERT J. FOY, BPR #025919
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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2013, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to the
following:

Mark M. Bell                                       Cameron S. Hill
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                                                   /s/ Robert J. Foy
                                                   ROBERT J. FOY




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